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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                    CASE NO. 3:21-cr-16-MMH-JBT

JEFFREY ALAN SIEGMEISTER


                                      ORDER

      The Court has examined Defendant JEFFREY ALAN SIEGMEISTER under oath

and found him without sufficient resources within the meaning of Title 18, United States

Code, Section 3006A to employ counsel, and the Federal Public Defender is hereby

appointed to represent Defendant.

      DONE AND ORDERED at Jacksonville, Florida, this 22nd day of April, 2021.




Copies to:
Asst. U.S. Attorney (Karase)
Asst. U.S. Attorney (Mesrobian)
Federal Public Defender
